
PER CURIAM.
Having considered the appellant’s response to this Court’s order of January 25, 2007, we dismiss this appeal for lack of jurisdiction. The notice of appeal filed on December 1, 2006, appealing the order denying the appellant’s motion for postcon-viction relief rendered on October 4, 2006, is untimely. Because the notice of appeal was filed more than 30 days after rendition of the order and the untimely motion for rehearing did not delay rendition, this Court is without appellate jurisdiction. See Fla. R.App. P. 9.110(b). Thus, this appeal is hereby dismissed.
DISMISSED.
WOLF, VAN NORTWICK, and LEWIS, JJ., concur.
